      Case 13-42530         Doc 139       Filed 10/02/18 Entered 10/02/18 21:45:02                  Ch. 13 Notice
                                                 of 522q Pg 1 of 1

                                    UNITED STATES BANKRUPTCY COURT
                                          Eastern District of Missouri
                                       Thomas F. Eagleton U.S. Courthouse
                                      111 South Tenth Street, Fourth Floor
                                              St. Louis, MO 63102
In     Debtor(s):
re:    Jason D. Fauss − See below for reported alias          Case No.: 13−42530 −A659
       information. xxx−xx−0585
       − See below for reported alias information.
                                                              CHAPTER 13




   NOTICE OF DEADLINE TO OBJECT TO DISCHARGE BASED ON 11 U.S.C. § § 522(q) AND 1328(h)



PLEASE TAKE NOTICE that, pursuant to 11 U.S.C. § 1328(h), the Court may not grant a discharge in this case
unless the Court finds that there is no reasonable cause to believe that 1) 11 U.S.C. § 522(q)(1) regarding debts
arising from certain crimes, and/or an abusive bankruptcy filing in connection with a felony conviction may be
applicable to the Debtor; and 2) there is any pending proceeding in which the debtor may be found guilty of a felony
described in 11 U.S.C. § 522(q)(1)(A) which, under the circumstances, demonstrates that the filing of the bankruptcy
case was an abuse of the Bankruptcy Code, or, there is pending any proceeding in which the Debtor may be found
liable for a debt involving i) certain crimes involving or related to state or federal securities laws, regulations, and/or
orders; ii) violation of the federal Racketeer Influenced and Corrupt Organizations Act; or iii) any criminal act,
intentional tort, or willful or reckless misconduct that caused serious physical injury or death to another individual in
the preceding 5 years. See 11 U.S.C. § § 522(q) and 1328(h).

PLEASE TAKE FURTHER NOTICE that if the Debtor is otherwise entitled to a discharge and you have a good
faith belief that the grounds set forth in ONLY 11 U.S.C. § 1328(h) exist in this case for not granting a discharge, you
MUST file an objection to the granting of a discharge to the Debtor on or before October 16, 2018 or the Court will
enter the Debtor's discharge without any further notice or hearing. This does NOT extend the general deadline for
objecting to the entry of a discharge on any other grounds.


                                                                                                       FOR THE COURT:

                                                                                                       /s/Dana C. McWay
                                                                                                           Clerk of Court
Dated: 10/2/18

Reported Alias Information:
Jason D. Fauss −
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Rev. 01/09
